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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION


   JASON COMPLIMENT,                                       )
                                                           )
                                   Plaintiff,              )
                                                           )
                          vs.                              )        1:14-cv-00175-SEB-MJD
                                                           )
   HENDRICKS COUNTY SHERIFF,                               )
   et al.                                                  )
                      Defendants.                          )


                                                 O RDE R
         Th e part i es h av e r e p o rt ed a s et t l em ent . It i s t he refo re OR DER ED t h at

 al l d at es and deadl i nes previ ous l y es t abl i s hed are v acat e d.            An y pen d i n g

 m o t i o n s are deni ed as m oot .

         Th e part i es are O R DER ED t o fi nal i ze t hei r agreem ent and fi l e t h e

 ap p ro p ri at e docum e nt s t o res ol ve t hi s c aus e wi t h t h e C l erk of t he C ourt o n o r

 b efo re Novem be r 14 , 2014. The f ai l ure t o do s o wi l l res ul t i n a D IS M IS S A L

 W ITH P R EJ UD IC E purs uant t o F ed. R . C i v. P . 41(b).                  Addi t i onal t i m e t o

 co m p l et e t he ex ecut i o n of t h e s et t l em ent docum ent s m a y be gr ant ed i f reques t ed

 i n wri t i n g pri or t o t he ex pi rat i o n of t hi s peri od of t i m e.

         IT IS S O OR DER ED .



                                                  _______________________________
         Dat e: 10/ 7/ 2014
                                                    SARAH EVANS BARKER, JUDGE
                                                    United States District Court
                                                    Southern District of Indiana
Case 1:14-cv-00175-SEB-MJD Document 55 Filed 10/07/14 Page 2 of 2 PageID #: 194




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